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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 05-CV-00663 -RPM


Steve Stumbo,

Plaintiff,

v.

Ameristep Corporation

Defendant.

AND

Civil Action No. 05-CV-00664-RPM


Steve Stumbo,

Plaintiff,

v.

Eastman Outdoors, Inc.

Defendant.


             MOTION FOR ISSUANCE OF PLAINTIFF’S PROTECTIVE ORDER


        COMES NOW Plaintiff, Steve Stumbo, by and through his attorneys Fischer & Fischer, LLP

and hereby moves this Court for issuance of Plaintiffs’ Protective Order and states as follows:

        1.      Pursuant to the Amended Scheduling Order, the parties are to submit a proposed

Protective Order on October 28, 2005. Unfortunately, the parties are unable to agree upon a Joint

Proposed Protective Order. However, the parties are essentially in agreement with most provisions

of the attached Proposed Protective Order. Defendants have objected to certain provisions in
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paragraphs 4 and 5, particularly the provision of the “Attorneys Eyes Only” documents (i.e., the

Settlement Agreement entered between Plaintiff and Defendant Double Bull), for Counsel and their

experts limited use relating to damages and standing. Defendant has indicated they do not agree with

limiting their use of the Settlement Agreement.

       2.      As a possible resolution, Plaintiff offered the following language, “In the event a

party intends to use the Attorney Eyes Only information for purposes other than standing and

damages, that parties' counsel shall informally attempt to resolve such issue. If the parties are unable

to resolve it informally, the party that intends to use such information for purposes other than

standing or damages may file a motion with the Court, which must be filed under seal, for the Court's

determination.” Defendants do not agree with the proposed language.

       WHEREFORE, Plaintiff respectfully requests the Court to issue Plaintiff’s Proposed

Protective Order in its current form. The Proposed Protective Order provides the appropriate

protection for sensitive, proprietary and confidential information which may, without such

protection, provide competitive advantage to Defendants.

       DATED this 28th day of October, 2005.

                                               Respectfully submitted,

                                               Fischer & Fischer, LLP

                                               s/ Walter A. Winslow
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                                 CERTIFICATE OF MAILING

       I hereby certify that on this 28th day of October, 2005, I hand delivered a true and correct copy

of the foregoing MOTION FOR ISSUANCE OF PLAINTIFF’S PROTECTIVE ORDER ,

addressed to the following:


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                                               s/ Lisa McClain
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